
Per Curiam.—
The only question raised on this appeal is that the complaint is not subscribed by the “ plaintiff or his attorney,” as required by § 459 of the revised charter, regulating the practice in the municipal court.
The complaint was verified by the plaintiff as required by the Code, and he signed his name to the verification, but did not subscribe the complaint itself. In Harrison v. Wright, 1 St. Rep. 736, where the precise question was up, it was held, by the unanimous opinion of the general term of this court, that the signature of the plaintiff to the affidavit was a sufficient subscription of the complaint to meet the requirements of the statute. As no authority is shown us holding differently, and on facts exactly parallel, we must follow the law as laid down in that case.
The judgment of the court below is affirmed, with costs.
Present: Titus, Ch. J., Hatch and White, JJ.
Judgment affirmed, with costs.
